                  Case 1:08-cr-00361-OWW Document 89 Filed 11/13/09 Page 1 of 2


          ANTHONY P. CAPOZZI, CSBN 068525
      1
          LAW OFFICES OF ANTHONY P. CAPOZZI
      2   1233 W. Shaw Avenue, Suite 102
          Fresno, CA 93711
      3   Telephone: (559) 221-0200
          Fax: (559) 221-7997
      4   E-mail: capozzilaw@aol.com
      5
          Attorney for Defendant,
      6   DAVINDER SINGH

      7

      8
                                IN THE UNITED STATES DISTRICT COURT
      9
                             EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10
                                                      *****
     11

     12
          UNITED STATES OF AMERICA,                     ) Case No.: CR-F-08-0361 OWW
                                                        )
     13
                       Plaintiff,                         STIPULATION FOR CONTINUANCE
                                                        )
                                                          AND PROPOSED ORDER THEREON
     14                                                 )
                vs.
                                                        )
     15
                                                        )
     16   DAVINDER SINGH,                               )
                                                        )
     17                Defendant.
                                                        )
     18

     19
                IT IS HEREBY STIPULATED between the Defendant, DAVINDER SINGH, by and
     20
          through his respective attorney-of-record, Anthony P. Capozzi and Plaintiff, by and through
     21
          Assistant United States Attorney, Karen A. Escobar, that the hearing now set for Monday,
     22
          November 16, 2009, be continued to Monday, January 25, 2010, at 9:00 a.m.
     23
                It is further stipulated by the parties that any delay resulting from this continuance
     24
          shall be excluded on the following basis:
     25
                (1)         Title 18, United States Code, Section 3161(h)(8)(A) -- that the ends of
     26
                            justice served by taking such action outweighs the best interest of the
     27
                            public and the defendant in a speedy trial;
     28

                                                       -1–
                                                                                  Stipulation for Continuance
                                                                                               08-0361 OWW

PDF created with pdfFactory trial version www.pdffactory.com
                 Case 1:08-cr-00361-OWW Document 89 Filed 11/13/09 Page 2 of 2



      1

      2         (2)        Title 18, United States Code, Section 3161(h)(8)(B)(ii): that is
      3                    unreasonable to expect adequate preparation for pre-trial proceedings or
      4                    for the trial itself with the time limits established due to the complexity of
      5                    the case.
      6                                            Respectfully submitted,
      7   Dated: November 12, 2009
      8                                                  /s/ Anthony P. Capozzi
      9
                                                   ANTHONY P. CAPOZZI,
                                                   Attorney for Defendant,
     10                                            DAVINDER SINGH
     11

     12   Dated: November 12, 2009
                                                          /s/ Karen A. Escobar
     13
                                                   KAREN A. ESCOBAR
     14
                                                   Assistant United States Attorney

     15

     16
                                                   ORDER
     17

     18
                IT IS SO ORDERED. Good cause having been shown, the hearing set for Monday,
     19
          November 16, 2009 is vacated and continued to Monday, January 25, 2010 at 9:00 a.m.
     20
                Additionally, time shall be excluded by stipulation from the parties and pursuant to
     21
          18 USC §§ 3161(h)(8)(A) and 3161(h)(8)(B)(ii).
     22

     23
          Dated: November 12, 2009
     24

     25
                                                   /s/ OLIVER W. WANGER
     26                                            Honorable Oliver W. Wanger
                                                   United States District Court Judge
     27

     28

                                                      -2–
                                                                                    Stipulation for Continuance
                                                                                                 08-0361 OWW

PDF created with pdfFactory trial version www.pdffactory.com
